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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 JOSIAH GALLOWAY,
                               Plaintiff,
                -against-                                           COUNTY DEFENDANTS’
                                                                    ANSWER TO THE SAC
 NASSAU COUNTY, THE INCORPORATED VILLAGE
 OF HEMPSTEAD, Police Officer STEVEN HOROWITZ,                      19-cv-5026 (AMD) (JO)
 Shield No. 144, Detective MATTHEW ROSS, Shield No.
 834, Detective CHARLES DECARO, Shield No. 1047,
 Detective RONALD LIPSON, Shield No. 1296, Detective
 THOMAS D’LUGINSKI, Shield No. 7900, Detective
 GEORGE DARIENZO, Shield No. 1038, Detective
 KEVIN CUNNINGHAM, Shield No. 112, Detective
 Sergeant RICHARD DORSI, Detective RENE B. YAO,
 Detective CARL STRANGE, Shield No. 1225, JOHN and
 JANE DOE 1-20,

                               Defendants.

        Defendants THE COUNTY OF NASSAU, DET. MATTHEW ROSS, DET. CHARLES

 DECARO, DET. RONALD LIPSON, DET. THOMAS DLUGINSKI, DET. GEORGE

 DARIENZO, DET. SGT. RICHARD DORSI, DET. RENE YAO, and DET. CARL STRANGE

 (the “County Defendants”), by and through their attorneys, SOKOLOFF STERN LLP, hereby

 answer Plaintiff’s Second Amended Complaint (the “SAC”) as follows:

        1.      Deny the allegations set forth in paragraph “1” of the SAC.

        2.      Deny the allegations set forth in paragraph “2” of the SAC.

        3.      Deny the allegations set forth in paragraph “3” of the SAC.

        4.      Deny the allegations set forth in paragraph “4” of the SAC, and refer all questions

 of law to the Court for adjudication.

        5.      Deny the allegations set forth in paragraph “5” of the SAC, and refer all questions

 of law to the Court for adjudication.




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        6.      Deny the allegations set forth in paragraph “6” of the SAC, and refer all questions

 of law to the Court for adjudication.

        7.      Deny the allegations set forth in paragraph “7” of the SAC, and refer all questions

 of law to the Court for adjudication.

        8.      Deny the allegations set forth in paragraph “8” of the SAC, and refer all questions

 of law to the Court for adjudication.

        9.      Deny the allegations set forth in paragraph “9” of the SAC, and refer all questions

 of law to the Court for adjudication.

        10.     Deny the allegations set forth in paragraph “10” of the SAC, and refer all questions

 of law to the Court for adjudication.

        11.     Admit the allegations set forth in paragraph “11” of the SAC.

        12.     Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “12” of the SAC.

        13.     Deny the allegations set forth in paragraph “13” of the SAC, and refer all questions

 of law to the Court for adjudication.

        14.     Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “14” of the SAC.

        15.     Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “15” of the SAC, except admit that DET. MATTHEW ROSS,

 DET. CHARLES DECARO, DET. RONALD LIPSON, DET. THOMAS DLUGINSKI, DET.

 GEORGE DARIENZO, DET. SGT. RICHARD DORSI, DET. RENE YAO, and DET. CARL

 STRANGE were officers of the Nassau County Police Department.




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        16.      Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “16” of the SAC.

        17.      Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “17” of the SAC.

        18.      Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “18” of the SAC, and refer all questions of law to the Court for

 adjudication.

        19.      Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “19” of the SAC.

        20.      Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “20” of the SAC.

        21.      Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “21” of the SAC.

        22.      Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “22” of the SAC.

        23.      Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “23” of the SAC.

        24.      Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “24” of the SAC.

        25.      Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “25” of the SAC.

        26.      Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “26” of the SAC.



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        27.     Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “27” of the SAC.

        28.     Admit the allegations set forth in paragraph “28” of the SAC.

        29.     Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “29” of the SAC.

        30.     Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “30” of the SAC.

        31.     Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “31” of the SAC.

        32.     Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “32” of the SAC.

        33.     Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “33” of the SAC.

        34.     Deny the allegations set forth in paragraph “34” of the SAC.

        35.     Deny the allegations set forth in paragraph “35” of the SAC.

        36.     Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “36” of the SAC.

        37.     Deny the allegations set forth in paragraph “37” of the SAC.

        38.     Deny the allegations set forth in paragraph “38” of the SAC.

        39.     Deny the allegations set forth in paragraph “39” of the SAC.

        40.     Deny the allegations set forth in paragraph “40” of the SAC.

        41.     Deny the allegations set forth in paragraph “41” of the SAC.

        42.     Deny the allegations set forth in paragraph “42” of the SAC.



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        43.     Deny the allegations set forth in paragraph “43” of the SAC.

        44.     Deny the allegations set forth in paragraph “44” of the SAC.

        45.     Deny the allegations set forth in paragraph “45” of the SAC, and refer the Court to

 Justice Honorof’s order for its full and complete contents and import.

        46.     Deny the allegations set forth in paragraph “46” of the SAC.

        47.     Deny the allegations set forth in paragraph “47” of the SAC.

        48.     Deny the allegations set forth in paragraph “48” of the SAC.

        49.     Deny the allegations set forth in paragraph “49” of the SAC.

        50.     Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “50” of the SAC except admit that the fillers were police officers.

        51.     Deny the allegations set forth in paragraph “51” of the SAC.

        52.     Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “52” of the SAC.

        53.     Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “53” of the SAC.

        54.     Deny the allegations set forth in paragraph “54” of the SAC.

        55.     Deny the allegations set forth in paragraph “55” of the SAC.

        56.     Deny the allegations set forth in paragraph “56” of the SAC.

        57.     Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “57” of the SAC.

        58.     Deny the allegations set forth in paragraph “58” of the SAC, and refer all questions

 of law to the Court for adjudication.




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        59.     Deny the allegations set forth in paragraph “59” of the SAC, and refer the Court to

 Ogletree’s testimony for its full and complete content and import.

        60.     Deny the allegations set forth in paragraph “60” of the SAC.

        61.     Deny the allegations set forth in paragraph “61” of the SAC, and refer the Court to

 their testimony for its full and complete contents and import.

        62.     Deny the allegations set forth in paragraph “62” of the SAC.

        63.     Deny the allegations set forth in paragraph “63” of the SAC.

        64.     Deny the allegations set forth in paragraph “64” of the SAC, and refer the Court to

 the trial transcript for its full and complete contents and import.

        65.     Deny the allegations set forth in paragraph “65” of the SAC.

        66.     Admit the allegations set forth in paragraph “66” of the SAC.

        67.     Deny the allegations set forth in paragraph “67” of the SAC.

        68.     Deny the allegations set forth in paragraph “68” of the SAC.

        69.     Deny the allegations set forth in paragraph “69” of the SAC.

        70.     Deny the allegations set forth in paragraph “70” of the SAC, and refer the Court to

 Ms. Anania’s notes for their full and complete content and import.

        71.     Deny the allegations set forth in paragraph “71” of the SAC.

        72.     Admit the allegations set forth in paragraph “72” of the SAC.

        73.     Deny the allegations set forth in paragraph “73” of the SAC.

        74.     Deny the allegations set forth in paragraph “74” of the SAC.

        75.     Deny the allegations set forth in paragraph “75” of the SAC.

        76.     Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “76” of the SAC.



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        77.     Deny the allegations set forth in paragraph “77” of the SAC.

        78.     Deny the allegations set forth in paragraph “78” of the SAC.

        79.     Deny the allegations set forth in paragraph “79” of the SAC.

        80.     Deny the allegations set forth in paragraph “80” of the SAC.

        81.     Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations set forth in paragraph “81” of the SAC.

        82.     Deny the allegations set forth in paragraph “82” of the SAC except admit Plaintiff

 claims these injuries.

        83.     In response to paragraph “83” of the SAC, County Defendants repeat the responses

 contained in the foregoing paragraphs of this Answer as if set forth in their entirety herein.

        84.     Deny the allegations set forth in paragraph “84” of the SAC, and refer all questions

 of law to the Court for adjudication.

        85.     Deny the allegations set forth in paragraph “85” of the SAC, and refer all questions

 of law to the Court for adjudication.

        86.     Deny the allegations set forth in paragraph “86” of the SAC, and refer all questions

 of law to the Court for adjudication.

        87.     Deny the allegations set forth in paragraph “87” of the SAC, and refer all questions

 of law to the Court for adjudication.

        88.     Deny the allegations set forth in paragraph “88” of the SAC.

        89.     Deny the allegations set forth in paragraph “89” of the SAC.

        90.     Deny the allegations set forth in paragraph “90” of the SAC.

        91.     In response to paragraph “91” of the SAC, County Defendants repeat the responses

 contained in the foregoing paragraphs of this Answer as if set forth in their entirety herein.



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           92.    Deny the allegations set forth in paragraph “92” of the SAC.

           93.    Deny the allegations set forth in paragraph “93” of the SAC, and refer all questions

 of law to the Court for adjudication.

           94.    Deny the allegations set forth in paragraph “94” of the SAC.

           95.    Deny the allegations set forth in paragraph “95” of the SAC.

           96.    Deny the allegations set forth in paragraph “96” of the SAC.

           97.    Deny the allegations set forth in paragraph “97” of the SAC.

           98.    Deny the allegations set forth in paragraph “98” of the SAC, and refer all questions

 of law to the Court for adjudication.

           99.    Deny the allegations set forth in paragraph “99” of the SAC.

           100.   In response to paragraph “100” of the SAC, County Defendants repeat the

 responses contained in the foregoing paragraphs of this Answer as if set forth in their entirety

 herein.

           101.   Deny the allegations set forth in paragraph “101” of the SAC, and refer all questions

 of law to the Court for adjudication.

           102.   Deny the allegations set forth in paragraph “102” of the SAC.

           103.   Deny the allegations set forth in paragraph “103” of the SAC.

           104.   In response to paragraph “104” of the SAC, County Defendants repeat the

 responses contained in the foregoing paragraphs of this Answer as if set forth in their entirety

 herein.

           105.   Deny the allegations set forth in paragraph “105” of the SAC.

           106.   Admit the allegations set forth in paragraph “106” of the SAC.

           107.   Deny the allegations set forth in paragraph “107” of the SAC.



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           108.   Deny the allegations set forth in paragraph “108” of the SAC.

           109.   Deny the allegations set forth in paragraph “109” of the SAC, and refer all questions

 of law to the Court for adjudication.

           110.   Deny the allegations set forth in paragraph “110” of the SAC.

           111.   In response to paragraph “111” of the SAC, County Defendants repeat the

 responses contained in the foregoing paragraphs of this Answer as if set forth in their entirety

 herein.

           112.   Deny the allegations set forth in paragraph “112” of the SAC, and refers all

 questions of law to the Court for adjudication.

           113.   Deny the allegations set forth in paragraph “113” of the SAC, and refer all questions

 of law to the Court for adjudication.

           114.   Deny the allegations set forth in paragraph “114” of the SAC.

           115.   In response to paragraph “115” of the SAC, County Defendants repeat the

 responses contained in the foregoing paragraphs of this Answer as if set forth in their entirety

 herein.

           116.   Deny the allegations set forth in paragraph “116” of the SAC.

           117.   Deny the allegations set forth in paragraph “117” of the SAC.

           118.   Deny the allegations set forth in paragraph “114” of the SAC.

           119.   Deny the allegations set forth in paragraph “119” of the SAC, and refer all questions

 of law to the Court for adjudication.

           120.   Deny the allegations set forth in paragraph “120” of the SAC.




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           121.   In response to paragraph “121” of the SAC, County Defendants repeat the

 responses contained in the foregoing paragraphs of this Answer as if set forth in their entirety

 herein.

           122.   Deny the allegations set forth in paragraph “122” of the SAC, and refer all questions

 of law to the Court for adjudication.

           123.   Deny the allegations set forth in paragraph “123” of the SAC.

           124.   In response to paragraph “124” of the SAC, County Defendants repeat the

 responses contained in the foregoing paragraphs of this Answer as if set forth in their entirety

 herein.

           125.   Deny the allegations set forth in paragraph “125” of the SAC, and refer all questions

 of law to the Court for adjudication.

           126.   Deny the allegations set forth in paragraph “126” of the SAC.

                           AS AND FOR A FIRST AFFIRMATIVE DEFENSE

           127.   The SAC fails to state a claim upon which relief may be granted.

                          AS AND FOR A SECOND AFFIRMATIVE DEFENSE

           128.   The County Defendants have not violated any rights, privileges, or immunities

 under the Constitution or laws of the United States or the State of New York or any political

 subdivision thereof, nor have they violated any Act of Congress providing for the protection of

 civil rights.

                          AS AND FOR AN THIRD AFFIRMATIVE DEFENSE

           129.   At all times relevant to the acts alleged in the SAC, the individual County

 Defendants, their agents, and officials acted reasonably, properly, and in the lawful exercise of




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 their discretion and did not violate any clearly established constitutional or statutory right of which

 a reasonable person would have known, and are therefore entitled to qualified immunity.

                        AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

        130.    At all times relevant to the acts alleged in the Amended Complaint, the individual

 County Defendants, their agents, and officials acted reasonably, properly, and in the lawful

 exercise of their discretion, and are therefore entitled to immunity on all state law claims.

                          AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

        131.    There was probable cause for plaintiff’s arrest, detention, and prosecution.

                          AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

        132.    Plaintiffs’ claims are barred, in whole or in part, by the statute of limitations.

                        AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

        133.    Any harm which allegedly came to Plaintiff was a direct and proximate result of

 his culpable or negligent conduct, or the culpable or negligent conduct of a third party, and was

 not the direct or proximate result of any of the County Defendants.

                        AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE

        134.    Plaintiff failed to mitigate his damages, if there are any.

                          AS AND FOR A NINTH AFFIRMATIVE DEFENSE

        135.    Plaintiffs’ 42 U.S.C. § 1983 claim is barred by the intracorporate conspiracy

 doctrine.

                         AS AND FOR AN TENTH AFFIRMATIVE DEFENSE

        136.    This Court lacks subject matter jurisdiction over this action, in whole or in part.

                      AS AND FOR AN ELEVENTH AFFIRMATIVE DEFENSE




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        137.   The County Defendants did not engage in any conduct that would support an award

 of punitive damages.

                        AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE

        138.   Punitive damages cannot be assessed as against defendant the County of Nassau.

                   AS AND FOR AN THIRTEENTH AFFIRMATIVE DEFENSE

        139.   Defendant the County of Nassau is entitled to governmental immunity from

 liability under New York common law.

                  AS AND FOR AN FOURTEENTH AFFIRMATIVE DEFENSE

        140.   Plaintiffs’ claims are barred by their failure to comply with the requirements of

 New York General Municipal Law §§ 50-(e), (h), and/or (i).

                    AS AND FOR AN FIFTEENTH AFFIRMATIVE DEFENSE

        141.   Some or all of the individual County Defendants are entitled to absolute immunity.

                    AS AND FOR A SIXTEENTH AFFIRMATIVE DEFENSE

        142.   Plaintiff’s claims are barred, in whole or in part, by res judicata or collateral

 estoppel.

                  AS AND FOR AN SEVENTEENTH AFFIRMATIVE DEFENSE

        143.   Plaintiff’s damages have been or will be offset by recovery from a collateral source.




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        WHEREFORE, the County Defendants request judgment dismissing the SAC in its

 entirety, together with the costs and disbursement of this action, and such other and further relief

 as the Court may deem just and proper.

 Dated: Carle Place, New York
        April 15, 2020

                                                              SOKOLOFF STERN LLP
                                                              Attorneys for County Defendants
                                                              Brian S.          Digitally signed by Brian S. Sokoloff
                                                                                DN: cn=Brian S. Sokoloff, o=Sokoloff Stern
                                                                                LLP, ou,


                                                      By:     Sokoloff          email=bsokoloff@sokoloffstern.com, c=US
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                                                                                Date: 2020.04.15 16:30:21 -04'00'


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                                                              File No. 190164


 TO:    All counsel of record via ECF




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